 1
     Tom McAvity, 034403
 2   Phoenix Fresh Start Bankruptcy
     4602 E Thomas Rd, Ste S-9
 3   Phoenix, AZ 85018
     Phone: 602-598-5075
 4   Email: documents@phxfreshstart.com
 5                             UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF ARIZONA
 6
                                                      )   Chapter: 13
 7   In re:                                           )
                                                      )
 8
     LISA A GARRETSON,                                )   Case No. 2:20-bk-12316-MCW
                                                      )
 9                                                    )
                                                      )   NOTICE OF HEARING ON MOTION
10                                                    )   FOR SANCTIONS FOR VIOLATION OF
                                   Debtor.            )
11                                                    )   THE AUTOMATIC STAY

12
              PLEASE TAKE NOTICE that on March 18, 2021 at 01:30 PM, a hearing will be had
13
     on the Debtor’s Motion for Sanctions for Violation of The Automatic Stay.
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              Per the Court’s General Order 20-3 all appearances will be by telephone, the parties are
16
     to call (877) 402-9753, access code 7471798 a few minutes prior to the hearing time.
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18

19            Dated: February 3, 2021.

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21
                                                           Respectfully submitted:
22
                                                           /s/ Tom McAvity     ______
23
                                                           Tom McAvity, 034403
24                                                         Phoenix Fresh Start Bankruptcy
                                                           4602 E Thomas Rd, Ste S-9
25
                                                           Phoenix, AZ 85018
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 1
                                    CERTIFICATE OF SERVICE
 2
          Original of the foregoing filed ECF and Copies mailed/emailed on this the 3 rd day of
 3
     February 2021 to:
 4

 5   U.S. Trustee
     230 North First Avenue
 6   Suite 204
 7
     Phoenix, Arizona 85003
     USTPRegion14.PX.ECF@USDOJ.GOV
 8
     Edward J Maney, Trustee
 9   101 N. First Ave
10
     Suite 1775
     Phoenix, Arizona 85003
11
     Creditors appearing on
12
     the attached Master Mailing List
13
     /s/ Tom McAvity
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